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              9      WHATSAPP INC. and FACEBOOK, INC.

            10
                                                    UNITED STATES DISTRICT COURT
            11
                                                NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123-JSC
            14       and FACEBOOK, INC., a Delaware
                     corporation,                                   FACEBOOK, INC.’S CORPORATE
            15                                                      DISCLOSURE STATEMENT

            16                        Plaintiffs,

            17              v.

            18       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            19
                                      Defendants.
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  COOLEY LLP                                                                     CORPORATE DISCLOSURE STATEMENT
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                1                      CASE NO. 3:19-CV-07123-JSC
                             Case 4:19-cv-07123-PJH Document 4 Filed 10/29/19 Page 2 of 2



              1                                   RULE 7.1 DISCLOSURE STATEMENT

              2              Under Federal Rule of Civil Procedure 7.1, Plaintiff Facebook, Inc. states:

              3              1.     Facebook has no parent corporation.

              4              2.     No publicly held corporation owns 10 percent or more of Facebook’s stock.

              5      Dated: October 29, 2019                      Respectively submitted,
              6                                                   COOLEY LLP
              7
              8                                                     /s/ Travis LeBlanc
                                                                    Travis LeBlanc
              9                                                     Daniel J. Grooms
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            10
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            11                                                      WHATSAPP INC. and FACEBOOK, INC.
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  COOLEY LLP                                                                             CORPORATE DISCLOSURE STATEMENT
ATTO RNEY S AT LAW
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                                                                      2                        CASE NO. 3:19-CV-07123-JSC
